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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                  Plaintiff,          )                 4:09CR3031
                                      )
            v.                        )
                                      )
MICHAEL KONING, LOWELL                )                   ORDER
BAISDEN, SUSAN BAISDEN-               )
KONING,                               )
                                      )
                  Defendants.         )
                                      )


      IT IS ORDERED that the following motions are referred to Magistrate Judge
Zwart:
      1.    Filing 139 (Motion in Limine);
      2.    Filing 140 (Motion for Additional Preemptory Challenges);
      3.    Filing 147 (Motion for Separate Jury at Concurrent Trials).

      DATED this 23rd day of November, 2010.

                                     BY THE COURT:
                                     Richard G. Kopf
                                     United States District Judge
